         Case 3:24-cv-01764-AB         Document 1       Filed 10/18/24     Page 1 of 19




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                             IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF OREGON

                                     PORTLAND DIVISION


PIZZA PACK LLC, an Oregon Limited                  Case No. 3:24-cv-01764
Liability Company,
                                                   COMPLAINT
                Plaintiff,
        vs.                                        Patent Infringement 35 U.S.C. § 271
                                                   Trade Dress 15 U.S.C. §1125(a)
TARGET CORPORATION, a Minnesota                    Misappropriation/Unjust Enrichment
Corporation,                                       ORS 646.608 (Unlawful Business
                                                   Practices)
                Defendant.
                                                   DEMAND FOR JURY TRIAL



       Plaintiff, Pizza Pack LLC (hereinafter, “Plaintiff”), by and through its undersigned

counsel, for its Complaint against Defendant Target Corporation (hereinafter, “Defendant”),

alleges the following. Allegations made on belief are premised on the belief that the same are

likely to have evidentiary support after a reasonable opportunity for further investigation and

discovery.


Page 1 –COMPLAINT
           Case 3:24-cv-01764-AB           Document 1    Filed 10/18/24     Page 2 of 19




                                   NATURE OF THE ACTION

                                                1.a.

       This is an action in law and for patent infringement and trade dress infringement asserting

that Defendant’s “Pizza Pack” infringes Plaintiff’s following patents:

       •    U.S. Patent No. 11,661,260 entitled “Expandable Pizza Container” (Exhibit 1)

       •    U.S. Patent No. 11,738,935 entitled “Expandable Pizza Container” (Exhibit 2)

       •    U.S. Patent No. D1,034,109 entitled “Expandable Pizza Container” (Exhibit 3)

                                                 1.b

       This is an action in law and for trade dress infringement asserting that Defendant’s “Pizza

Pack” infringes Plaintiff’s trade dress.

                                                 1.c

       This is an action in law for Trade Dress asserting that Defendant provided and sold goods

that adopted a particular dress, design and combination of features, so as to imitate Plaintiff’s

trade dress in such a way as to be confusingly similar to Plaintiff’s Pizza Pack and mislead the

consumer.

                                                 1.d

       This is an action in law and equity for unjust enrichment and misappropriation asserting

that Defendant has benefitted from his copying, advertisement and sales of Plaintiff’s patented

pizza storage container.

                                                 1.e

       This is an action in law for Defendant’s violation of Oregon’s Unlawful Business, Trade

Practices Act as set forth in ORS 646.608 asserting that Defendant passing off his goods or

services as the goods or services of Plaintiff; causing likelihood of confusion or of

misunderstanding as to the source, sponsorship or approval, of Plaintiff’s goods; and of causing



Page 2 –COMPLAINT
          Case 3:24-cv-01764-AB            Document 1    Filed 10/18/24     Page 3 of 19




likelihood of confusion or of misunderstanding as to affiliation, connection, or association with,

or certification by, Plaintiff.

                                              PARTIES

                                                 2.

        Pizza Pack LLC is a limited liability company organized and existing under the laws of

the State of Oregon since June 2022, having a principal place of business in Oregon. Plaintiff

manufactures, distributes, and sells food related items such as collapsible pizza containers,

cheese choppers, and pizza cutters nationally and internationally under its own company name

and rebranded as others. Much of Plaintiff’s sales are through Amazon and other internet sites.

                                                 3.

        On information and belief, Target Corporation is a corporation organized and existing

under the laws of the State of Minnesota. Target Corporation is a mass market retail company

operating large-scale food and general-merchandise stores nationally including, but not limited

to, the states of Oregon and California.

                                           JURISDICTION

                                                 4.

        This Court has subject matter jurisdiction (federal question jurisdiction) of the claims

asserted herein under 15 U.S.C. §1121 (actions arising under the Lanham Act), 28 U.S.C. §1331,

1338(a) (acts of Congress relating to trademarks), 28 U.S.C. §1338(b) (pendent jurisdiction over

the claims arising under state law), 28 U.S.C. §1367(a) (supplemental jurisdiction over State

claims) and 35 U.S.C. §1 et seq. (actions arising under the Patent Laws of the United States).

                                                 5.

        This Court has in personal jurisdiction over Defendant by virtue of the facts that upon

information and belief: (a) Defendant has regularly solicited business and sold products in this



Page 3 –COMPLAINT
          Case 3:24-cv-01764-AB         Document 1        Filed 10/18/24     Page 4 of 19




state through “brick and mortar” stores and a website, thus transacting substantial business

within Oregon; (b) Defendant has damaged the Plaintiff in this District; (c) Defendant directed

its sales activities to others that distribute Defendant’s products to Oregon; and/or (d) Defendant

has otherwise systematic and continuous contacts with the State of Oregon and has purposefully

availed itself the privilege of conducting activities in Oregon by conducting business transactions

in Oregon including presence within the state and sales of products to residents of Oregon.

                                              VENUE

                                                  6.

       Venue is proper in this Court under 28 U.S.C. §§ 1391(d) and 1400(b) for the same

reasons. A substantial part of the acts, events and omissions giving rise to the claims asserted in

this action may have occurred within this Judicial District. Additionally, venue is proper because

Defendant or its agent resides in or may be found in the State of Oregon and/or Defendant has

regular and established places of business in the State of Oregon. Furthermore, venue is proper

because the headquarters for the Plaintiff is in Aurora, Oregon and many of the key documents

and witnesses are located here.

                             FACTS COMMON TO ALL COUNTS

                          Plaintiff’s Patented Pizza Storage Container

                                                  7.

       Plaintiff has four granted US Patents on their pizza pack with three additional patents

currently pending on variations thereof, and on separate components. These issued patents grant

Plaintiff the exclusive right to import, make, use, sell and offer to sell their Pizza Pack and

exclude others from doing so.

                                                  8.

       Three of Plaintiff’s issued U.S. Patents are 11,661,260, 11,738,935, and D1,034,109.



Page 4 –COMPLAINT
          Case 3:24-cv-01764-AB           Document 1       Filed 10/18/24      Page 5 of 19




(Exhibits 1 – 3) Figure 1 of U.S. Patent No. 11,661,260 is shown below and is an identical copy

of the Pizza Pack Plaintiff developed, marketed and currently sells.




                                       Plaintiff’s Trade Dress

                                                   9.

        Plaintiff’s “Pizza Pack” trade dress consists of the several characteristics of its overall

visual appearance that signify the source of the product to consumers. These include: the rounded

corner triangular body, the nested three level expandable side wall configuration, the removable

the light gray rigid seal ring, the clear lid, the triangular vent cap, the three grey triangular

serving platers, the four hinged locking wings and the double lock tabs on each of the locking

wings. Plaintiff owns U.S. design patent D1,034,109 on their clear plastic lid. Figure 1 of U.S.

Patent No. D1,034,109 is shown below. The photos below are true images of Plaintiff’s Pizza

Pack body and lid.




Page 5 –COMPLAINT
         Case 3:24-cv-01764-AB         Document 1       Filed 10/18/24      Page 6 of 19




                                                10.

       Since their date of first introduction, and since long prior to the acts of Defendant

complained of herein, Plaintiff adopted an inherently distinctive and non-functional trade dress

for the Pizza Pack. The unique appearance of the Pizza Pack Trade Dress results from a

combination of the unique look described and shown in the photos above. No other pizza storage

container past or present, has an appearance that even remotely resembles the Pizza Pack’s Trade



Page 6 –COMPLAINT
           Case 3:24-cv-01764-AB         Document 1      Filed 10/18/24     Page 7 of 19




Dress.

                                                 11.

         Since at least as early as late 2020 and long prior to the acts of Defendant complained of

herein, Plaintiff has continuously and exclusively used the Pizza Pack Trade Dress in connection

with the advertising, promotion and sale of its pizza storage container. Plaintiff’s Pizza Pack has

been extensively shipped, distributed and sold in interstate commerce throughout the United

States, including in the District of Oregon.

                                                 12.

         Since long prior to the acts of Defendant complained of herein, Plaintiff has extensively

and widely advertised and promoted its Pizza Pack through numerous forms of media including,

without limitation, television and over the Internet at both Amazon.com and its own popular

website.

                                                 13.

         As a result of the aforesaid advertising, promotion, sales and media attention, and as well

as the excellence and craftsmanship of the products, the Pizza Pack Trade Dress, has become

famous and is recognized and relied upon by consumers as exclusively identifying the products

of Plaintiff and distinguishing those products from the products of others. The distinctive Pizza

Pack Trade Dress, including its colors, has come to represent an extremely valuable reputation

and goodwill worth many millions of dollars and belonging exclusively to Plaintiff.

                              Defendant’s Pizza Storage Container

                                                 14.

         Set forth below is a photograph of one of Defendant’s pizza storage containers that was

purchased from one of the Defendant’s stores. Mere visual inspection shows its striking visual

resemblance to drawings of the Plaintiff’s patents and Plaintiff’s actual Pizza Pack.



Page 7 –COMPLAINT
         Case 3:24-cv-01764-AB         Document 1      Filed 10/18/24     Page 8 of 19




                                               15.

       Defendant also advertises and sells their pizza storage container via their online website

www.target.com. Their online website shows the following page.




Page 8 –COMPLAINT
                     Case 3:24-cv-01764-AB                                     Document 1                     Filed 10/18/24                        Page 9 of 19




•••               [:j    0 Food Storage Pizza - Bultseye 's X   +
                                       0 8 https://www.target.com/p/food-storage-pizza-bullseye-39-s-playground-8482/-/A-90117881#lnk=sametab
~ Import bookmarks ...    Getting Startedi) Most Visited G Google Q Getting Started X apps.timesolv.com >... ~ NEW MyUSPTO New Tab • Intellectual Propert ...




    0             Categories                Deals        New & featured         Pickup & delivery             What can we help you find?



                                                                                                                   ShoR all Bullseye's Playaround

                                                                                                                    Food Storage Pizza - Bullseye 1s Playground™
                                                                                                                   ***** 1           v    Newat ®
                                                                                                                   $3.00
                                                                                                                   When purchased online CD




                                                                                                                     Pickup                    Delivery           Shipping
                                                                                                                     Not available             Not available      Not available




                                                                                                                   In stores · Visit your store to purchase


                                                                                                                                                    Add to cart




                                                Defendant’s Pizza Storage Container Trade Dress

                                                                                              16.

                Looking at the following photograph of one of Defendant’s expandable pizza storage

containers sold in their stores (left), aside a photograph of Plaintiff’s Pizza Pack (right) shows

that it embodies all Plaintiff’s trade dress including the rounded corner triangular body, the

nested three level expandable side wall configuration, the removable the light gray rigid seal

ring, the clear lid, the triangular vent cap, the three grey triangular serving platers, the four

hinged locking wings and the double lock tabs on each of the locking wings.




Page 9 –COMPLAINT
         Case 3:24-cv-01764-AB         Document 1       Filed 10/18/24     Page 10 of 19




                                 Defendant’s Unlawful Conduct

                                                17.

       Upon information and belief, Defendant knows and has known since before the acts

complained of herein, of the vast amount of intellectual property that Plaintiff has surrounded its

Pizza Pack with to protect its novelty and Plaintiff’s hard work and investment. This includes

Plaintiff’s four issued patents, and the unique appearance of Plaintiff’s Pizza Pack that

establishes Plaintiff’s Trade Dress that the public recognizes and relies upon as identifying

Plaintiff’s Pizza Pack and distinguishing Plaintiff’s products from the products of others.

                                                18.

       Notwithstanding Defendant’s prior knowledge and indeed by reason of such knowledge,




Page 10 –COMPLAINT
           Case 3:24-cv-01764-AB         Document 1       Filed 10/18/24     Page 11 of 19




Defendant upon information and belief, recently set upon a scheme and course of conduct to

misappropriate Plaintiff’s rights in the Pizza Pack Patents and Pizza Pack Trade Dress so as to

deceive the public into believing that Defendant’s goods are Plaintiff’s goods, by importing

distributing, selling, offering for sale, promoting and advertising a pizza storage container which

closely copies and imitates the appearance of Plaintiff’s design patent, infringes its utility

patents, and violates its Trade Dress. A photograph showing the imitation Pizza Pack sold by

Defendant can be seen above in paragraphs 14, 15 and 16.

                                                  19.

          Upon information and belief, Defendant is distributing, selling, offering for sale,

promoting and advertising his pizza storage container bearing exact imitations of Plaintiff’s

patented Pizza Pack and Plaintiff’s Pizza Pack’s Trade Dress with the deliberate and calculated

intent to trade on the enormous goodwill and reputation symbolized by the Pizza Pack Trade

Dress so as to confuse and mislead the public into believing that Defendant’s pizza storage

containers are the same or come from the same source as Plaintiff’s products or have been

sponsored, approved or connected with Plaintiff.

                                                  23.

          Defendant’s pizza storage container so closely simulates and imitates Plaintiff’s Pizza

Pack Trade Dress as to be likely to cause confusion and mistake and to deceive and to make the

public to believe that Defendant’s products are Plaintiff’s products, or have been sponsored,

approved or somehow connected with Plaintiff, with consequent injury to Plaintiff and to the

public.

                                                  24.

          Defendant’s simulation and imitation of Plaintiff’s Pizza Pack Trade Dress constitutes the

use of false designations of origin and false and misleading representations as to the source of the



Page 11 –COMPLAINT
         Case 3:24-cv-01764-AB            Document 1      Filed 10/18/24    Page 12 of 19




products sold, distributed and offered for sale by Defendant and is likely to cause confusion

among consumers and to cause them to mistakenly believe that Defendant’s pizza storage

containers are Plaintiff’s Pizza Packs or are approved, endorsed, affiliated or sponsored by or

associated or connected with Plaintiff.

                                                  26.

       Upon information and belief, Defendant has caused its goods to be sold, distributed and

offered for sale in interstate commerce with the intent to cause confusion and deception of the

public, and with knowledge and intent to profit unfairly from Plaintiff’s reputation and goodwill

associated with Plaintiff’s Pizza Pack’s Trade Dress and Patents.

                                                  27.

       Because of Defendant’s actions, Plaintiff has been damaged and is likely to be further

damaged by the use of such false designations and false and misleading descriptions and

representations in that the purchasing public is likely to be induced into purchasing Defendant’s

goods or receiving and using those goods in the erroneous belief that they are Plaintiff’s goods or

that Defendant’s goods are endorsed by Plaintiff, or are sponsored by Plaintiff, or are approved

or connected in some way with Plaintiff, or possess the advantages, benefits and quality of

Plaintiff’s goods.

                                                  28.

       Upon information and belief, Defendant has willfully and intentionally infringed

Plaintiff’s Pizza Pack Patent rights, and violated Plaintiff’s Pizza Pack Trade Dress all with the

intention of passing off his goods or services as the, goods services of Plaintiff; causing

likelihood of confusion or of misunderstanding as to the source, sponsorship or approval, of

Plaintiff’s goods; and of causing likelihood of confusion or of misunderstanding as to affiliation,

connection, or association with, or certification by, Plaintiff.



Page 12 –COMPLAINT
         Case 3:24-cv-01764-AB             Document 1    Filed 10/18/24      Page 13 of 19




                                                 29.

        Upon information and belief, Defendant has advertised and sold pizza storage containers

that violate Plaintiff’s above listed intellectual property rights, in interstate commerce to

consumers in both their “brick and mortar” stores and their online store with full knowledge that

these goods were intended to be made available to and purchased by Defendant’s customers in

all states serviced by the online store.

                                                 30.

        Plaintiff has not authorized Defendant to import, make, use sell or offer for sale any pizza

container that embodies the claims of any of Plaintiff’s patents. Plaintiff has not authorized

Defendant to sell any pizza container that embodies the distinctive trade dress of Plaintiff’s Pizza

Pack.

                                                 31.

        Upon information and belief, Defendant has controlled and directed all activities of

Defendant as alleged herein.

                                  FIRST CLAIM FOR RELIEF

                                   PATENT INFRINGEMENT

                                                 32.

        Plaintiff realleges each and every allegation of paragraphs 1 through 31 as though fully

set forth herein.

                                                 33.

        U.S. Patent Nos. 11,661,260, 11,738,935 and D1,034,109 were duly and legally issued

and assigned to Plaintiff, who since that date, has been and still is the owner of these patents.

Copies of these Patents are attached hereto as Exhibits 1 – 4.




Page 13 –COMPLAINT
         Case 3:24-cv-01764-AB          Document 1       Filed 10/18/24      Page 14 of 19




                                                  34.

       Defendant has been and still is directly infringing these patents by, upon information and

belief, importing, making, selling, offering for sale and using certain pizza storage containers that

incorporate the invention disclosed in these Patents, including, without limitation, the

Defendant’s pizza storage container shown below and as a result of such infringement Plaintiff

has suffered and continues to suffer damages in an amount to be proven at trial.




                                                  35.

       Defendant’s aforesaid acts have caused and will continue to cause great and irreparable

injury to Plaintiff, in both reputation and lost sales, and unless such acts are restrained by this

Court, such acts will continue, and Plaintiff will continue to suffer great and irreparable injury.




Page 14 –COMPLAINT
         Case 3:24-cv-01764-AB          Document 1       Filed 10/18/24      Page 15 of 19




                                SECOND CLAIM FOR RELIEF

                                           TRADE DRESS

                                                  44.

       Plaintiff realleges paragraphs 1through 31 as though fully set forth herein.

                                                  45.

       When designing and manufacturing the Pizza Pack, Plaintiff adopted a particular dress

and combination of features to produce a particular visual appearance for the purpose of

presenting its goods to the public.

                                                  46.

       Defendant has attempted to imitate Plaintiff’s particular dress, design and combination of

features, as they pertain to his pizza storage container in such a way as to mislead the public.

                                                  47.

       The multiplicity of similarities between Plaintiff’s patent Pizza Pack and the pizza

storage container produced and manufactured by Defendant evidence a conscious intent by

Defendant to imitate and copy Plaintiff.

                                                  48.

       Defendant’s actions are intended and/or operate to confuse the consumer.

                                                  49.

       Plaintiff’s sale of its own Pizza Pack and derivative works thereof is prejudiced by

Defendant’s imitation and copying of Plaintiff, all to the Plaintiff’s irreparable damage in an

amount to be proven at trial.

                                                  50.

       Defendant’s aforesaid acts have caused and will continue to cause great and irreparable

injury to Plaintiff, in both reputation and lost sales, and unless such acts are restrained by this



Page 15 –COMPLAINT
         Case 3:24-cv-01764-AB           Document 1       Filed 10/18/24      Page 16 of 19




Court, such acts will continue and Plaintiff will continue to suffer great and irreparable injury.

                                           COUNT THREE

                                UNLAWFUL TRADE PRACTICES

                         (MISAPPROPRIATION/UNJUST ENRICHMENT)

                                                  49.

        Plaintiff realleges paragraphs 1 through 31 as though fully set forth herein.

                                                  50.

        Defendant received the benefit of the significant time, marketing and effort expended by

Plaintiff to create and develop the Pizza Pack product, goodwill and market.

                                                  51.

        Defendant knowingly and intentionally misappropriated/copied every patented aspect of

the Pizza Pack, and blatantly misappropriated/copied every single aspect of the trade dress

associated with Plaintiff’s distinctive Pizza Pack presentation of his patented invention. In doing so

Defendant has violated the following prohibitions of ORS 646.608 in one or more of the following

particulars:

        (a) Passing off his goods or services as the goods services of Plaintiff;

        (b) Causing likelihood of confusion or of misunderstanding as to the source, sponsorship or

approval of Plaintiff’s goods; and

        (c) Causing likelihood of confusion or of misunderstanding as to affiliation, connection, or

association with or certification by Plaintiff.

                                                  52.

        As a result of Defendant’s foregoing conduct, Plaintiff has suffered damages in an amount

to be proven at trial.




Page 16 –COMPLAINT
         Case 3:24-cv-01764-AB         Document 1       Filed 10/18/24     Page 17 of 19




                                                53.

       It would be unjust to allow Defendant to retain the above-mentioned wrongfully obtained

benefits and Defendant should be ordered to disgorge the benefits he has obtained.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests and prays that this Court enter judgment in

its favor against Defendant and grant the following relief:

       A. A judgment declaring that Defendant’s conduct has:

            •   infringed, actively induced others to infringe, and/or contributorily infringed at

                least one of the claims of the 11,661,260, 11,738,935 and D1,034,109 patents in

                violation of 35 U.S.C. § 271(a), (b) and/or (c), or under the Doctrine of

                Equivalents;

            •   infringed the “Pizza Pack’s” trade dress in violation of 15 U.S.C. §

                1125(a)(1)(B);

            •   misappropriated the “Pizza Pack’s” trade dress in violation of 15 U.S.C. §

                1125(a)(1)(B);

            •   engaged in unfair business practices in violation of ORS 646.638(b);

            •   resulted in the unjust enrichment of Defendant

       B. A judgment that Defendant’s conduct with regard to the infringements of the claims

of the 11,661,260, 11,738,935and D1,034,109 patents and the infringement of the “Pizza Pack’s”

trade dress have been willful and wanton;

       C. Immediately and permanently enjoining Defendants, their officers, directors, agents,

servants, employees, representatives, attorneys, related companies, successors, assigns and all

others in active concert or participation with them, from any further acts of infringement, of the

11,661,260, 11,738,935 and D1,034,109 patents or the trade dress of the “Pizza Pack”;


Page 17 –COMPLAINT
         Case 3:24-cv-01764-AB         Document 1       Filed 10/18/24      Page 18 of 19




        D. An order and judgment requiring the Defendants to deliver to the Plaintiff for

destruction of Defendant’s pizza storage container or any product that is the same or identical to

the “Pizza Pack” and all equipment, tooling or other means of making the “Pizza Pack”, and that

Defendant be required to recall all such products that it has delivered, shipped or otherwise

provided to any distributors, retailers or third parties and refund any monies paid for such

products;

        E. An order pursuant to 35 U.S.C. § 284, awarding Plaintiff damages adequate to

compensate Plaintiff for Defendants’ unlawful conduct as outline above, in an amount to be

proven at trial,

        F. An order pursuant to 35 U.S.C. § 284, and15 U.S.C. § 1117 and based on Defendants’

willful and wanton infringements of the 11,661,260, 11,738,935 and D1,034,109 patents and

infringement of the “Pizza Pack’s” trade dress rights, trebling all damages awarded to Plaintiff,

and also that this case be adjudged and decreed exceptional under 35 U.S.C. § 285. Plaintiff

therefore specifically requests that the Court increase its damage award by a factor of three and

award Plaintiff its reasonable attorney’s fees, expenses and costs in this action;

        G. That Defendant be required to account to Plaintiff for all of Defendant’s profits as a

result of his willful and wanton acts of patent infringement, trade dress, misappropriation/unjust

enrichment.

        H. That Defendant be required to pay damages pursuant to ORS 646.638 adequate to

compensate for the damages of the misappropriation including both the actual loss caused by

misappropriation, and the unjust enrichment caused by misappropriation and punitive damages

as the Court may provide.

        I. That Defendants be required to file with the Court within thirty (30) days after entry

of final judgment in this case, a written statement under oath setting fourth the manner in which



Page 18 –COMPLAINT
         Case 3:24-cv-01764-AB         Document 1       Filed 10/18/24      Page 19 of 19




Defendant has complied with the final judgment;

       J.      An order, pursuant to 35 U.S.C. § 284, awarding to Plaintiffs pre-judgment

interest on the damages and their costs incurred in this action; and

       K.      Awarding Plaintiffs such other relief as the Court may deem just and equitable.

                                 DEMAND FOR JURY TRIAL

       Plaintiff demands a trial by jury of all claims where it is so entitled, pursuant to

FRCP 38(b).


       DATED this 18th day of October, 2024.

                                                      HITT HILLER MONFILS WILLIAMS LLP

                                                      /s/Stephen P McCarthy
                                                      Stephen P McCarthy, OSB # 894152

                                                      MARK S. HUBERT, PC

                                                      /s/Mark S. Hubert
                                                      Mark S. Hubert, OSB # 982561

                                                      Attorneys for Plaintiff




Page 19 –COMPLAINT
